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                         IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 WILLIAM RIVERA,                                 :
                                                 :
         Plaintiff,                              :
                                                 :
                v.                               :             CIVIL ACTION
                                                 :
 GEORGE LITTLE, et al.,                          :             NO. 22-3902
                                                 :
         Defendants.                             :
                                                 :
                                                 :

                                            ORDER

       AND NOW, this 28th day of November, 2023, upon consideration of Plaintiff’s Motion

for Relief pursuant to Federal Rule of Civil Procedure 60(b) (ECF No. 50), and all papers

submitted in support thereof or in opposition thereto, it is hereby ORDERED that said Motion is

DENIED for the reasons stated in this Court’s accompanying Memorandum.

       IT IS SO ORDERED.


                                                     BY THE COURT:

                                                     /s/ John Milton Younge
                                                     Judge John Milton Younge
